                              Case: 1:18-cv-04142 Document #: 2 Filed: 06/14/18 Page 1 of 1 PageID #:75
EM)44 (Rev. 07/10/17)                                                               CIVIL COVER SHEET
The ILND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,except as
provided by local rules ofcourt. This form, approved by the Judicial Conference ofthe United States in September 1974, is required for the use ofthe Clerk of Court for the piupose
ofinitiating the civil docket sheet. (See instructions on nextpage ofthisform.)
I. (a) PLAINTIFFS                                                                                                           DEFENDANTS
 CHASITY WATKINS, As Guardian of the Person and Estate of AIDEN                                                              UNITED STATES OF AMERICA, by and through its agents and
 GREEN,A Minor                                                                                                               employees, NATASHA DIAZ, M.D. and TYLER OALLAHAN, D.O.
  (b) Coimty of Residence of First Listed Plaintiff COOK                                                                     County ofResidence of First Listed Defendant
                                         (Except in U.S. plaintiffcases)                                                    (In U.S. plaintiffcases only)
                                                                                                                             Note:In land condemnation cases, use the location ofthe tract ofland involved.

  (c) Attorneys (firm name, address, and telephone number)                                                                    Attorneys fifknown)
 OOGAN & POWER,P.O.                                                                                                          Assistant United States Attorney
 One East Wacker Drive, Suite 510                                                                                            219 South Dearbom Street
 Chicago, ililnois 60801                                                                                                     Chicago, iiiinols 60604

U. BASIS OF JURISDICTION (Check one box, only.)                                                           ni. CITIZENSHIP OF PRINCIPAL PARTIES(For Diversity Caicr Only.)
                                                                                                                    (Check one box, onlyforplaintiffand one boxfor defendant.)
Q1 U.S. Govemment                        Q 3 Fedeial Question                                                                                             PTF        DEF                                                  PTF         DEF
            Plaintiff                               (U.S. Govemment not a parly)                                     Citizen ofThis State                 Dl          □ 1      Incoiporated or Principal Place            Dd           Dd
                                                                                                                                                                               of Business in This State

[32 U.S. Government                      Dd Diversity                                                                Citizen of Another State             02          0 2      Incoiporated am/Principal Place            DS           DS
            Defendant                               (Indicate citizenship ofparties in Item III.)                                                                              of Business in Another State

                                                                                                                     Citizen or Subject of a              QJ          0 3 Foreign Nation                                  06           06
                                                                                                                       Foreign Country
rV. NATUR£ OF SUIT (Check esf box, only.)
             CONTRACT                                                      TORTS                                         PRISONER PETITIONS                                  LABOR                          OTHER STAIUIISS

O ItO bisursnce                             PERSONAL INJURY                       PERSONAL INJURY                        510 Motions to Vacate Sentence         Q   710 Fair Labor Standards Act          375 False Claims Act

|~i 120 Marine                            □ 310 Airplane                        □ 365 Personal Injury •                  Habeas Corpus:                         Q   720 Labor/Management Relations        376 Qui Tam (31 USC 3729 (a))
□ 130 MUler Act                           □ 315 Airplane Product                       Product Liability             D 530 General                              □   740 Railway Labor Act                 400 State Reappottionment
n 140 Negotiable Instrument                      Liability                      □ 367 Health Care/                   D 535 Death Penalty                        n   751 Family and Medical                410 Antitrust

□ 150 Recovery of Overpayment             □ 320 Assault, Libel & Slander                Phaimaeetitical              D 540 Mandamus & Other                            Leave Act                           430 Banks and Banking
          & Enforcetnent ofJudgment       □ 330 Federal Employers'                    Personal Injury                □ 550 Civil Rights                         Q 790 Other Labor Litigation               450 Commerce

Q 151 Medicare Act                              Liabilby                              Product Liability              □ 555 Prison Cmtditian                     □ 791 Employee Retirement                  460 Deportation
n 152 Recovery of Defaulted Student       □ 340 Marine                          □ 368 Asbestos Personal Injury       □ 560 Civil Detainee - Conditions                 Income Security Act                 470 Racketeer Influenced and

          Loans (Exehides Veterans)       □ 345 Marine Product Liability               Product Liabilhy                       of Confinement                                                                  Corrupt Organizations
n 153 Recovery of Veteran's Benefits      □ 350 Motor Vehicle                                                                                                                                              480 Consumer Credit

Q 160 StockhoUcTs' Suits                  □ 355 Motor Vehicle                       PERSONAL PROPERTY                                                             '^gROBERTaSRIGHTSt^                      490 Cable/Sat TV

l~1190 Other Contract                           Product Liability               D 370 Other Fraud                                                               □ 820 Copyrights                           850 Securities/Commodities/
                                          □ 360 Other Personal Injury           □ 371 Truth in Lending                                                          □ 830 Patent                                   Exchange
□ 195 Contract Product Liability
 n 196 Franchise                          B 362PcnonalInjury-                   □ 380 Other Personal                                                            □ 835 Patent - Abbreviated                 890 Other Statutory Actions
                                                     Medical Malpractice              Property Damage                                                                 New Drug Application                 891 Agricubunl Acts
                                                                                □ 385 Property Damage                                                           □ 840 Trademark                            893 Environmental Matters

                                                                                        Product Liability                                                                                                  895 Freedom of Inforrttation Act
                                                                                                                                                                                                           896 Arbitration

          REAL PROPERTY                          CIVIL RIGHTS                         BANKRUPTCY                        FORFEITURE/PENALTY:^^       iSOGlAIi/SEGURlTYI'^                                   899 Administrative Procedure

 Q 210 Land Condemnation                   □   440 Other Civil Rights           □ 422Appc8l28USC158                   □ 625 Drug Related Seizure □ 861 HIA (13950)                                             Act/Review or Appeal of
 Q 220 Foreelosure                         □   441 Voting                       □ 423 Withdrawal 28 use 157                 ofProperty21USC881   □ 862 Black Lung (923)                                       Agency Decision
 n 230 Rent Lease A Ejectrrrent            D   442 Employrrrcnt                                                       □ 690 Other                □ 863 DIWODIWW (405(g))                                   950 Constimtionalhy of
 Q 240 Torts to Land                       □   443 Housing/                                                                                      □ 864 SSID Title XVI                                           State Statutes

 Q 245 Tort Product Liability                        Accomtnodations                 ^IMMlGRATlONfc                                              □ 865RSI(40S(g))
 n 290 All Other Real Property             □ 445 Amer. w/Disabilities-          □ 462 Naturalization Application
                                                 Employment                     □ 463 Habeas Corpus-
                                                                                        Alien Detainee
                                           □ 446 Amer. w/Disabilities-                                                                                                 FEDERALTAXES
                                                                                        (Prisoner Petition )
                                                     Other                                                                                                      □ 870 Taxes (U.S. PlaimifT
                                                                                    465 Other Immigrant
                                           □ 448 Education                              Actions                                                                     or Defendant)
                                                                                                                                                                □ 871 IRS—Third Party
                                                                                                                                                                         26 USC 7609


 V. ORIGIN (Check one box, only.)
 B 1 Original                O 2 Removed firom                O 3          Remanded from                  O    d      Reinstated or        D     5    Transferred from Q 5                   Multidistrict D 8       Multidistrict
          Proceeding                  State Court                          Appellate Court                            Reopened                        Another District                       Litigation              Litigation
                                                                                                                                                      (specify)                                                      Direct File
 VI. CAUSE OF ACTION (Enter U.S. Civil Statute under which you are filing and                                      VII. Previous Bankruptcy Matters (For nature of suit d22 and d23, enter the case number and
 write a brief statement of cause.)                                                                                judge for any associated bankruptcy matter previously adjudicated by a judge of this Court. Use a separate
                                                                                                                   attachment if necessary.)
 Federal Tort Claims Act
 VIII. REQUESTED IN                                     Q Check ifthis is a class action under Rule                          DEMANDS 32,000,000                             Check Yes only if demanded in complaint.
       COMPLAINT:                                          23.F.RCV.P.                                                                                                      JURY DEMAND: H Yes QNo
 IX. RELATED CASE(S)                        (See instrucdons)
          IF ANY                                                   Judge Thomas Durkin                                                                    Case Number           16-CV-1297
  X. Is this a previously dismissed or remanded case? O Yes [i] No If yes, Case #                                                                         Name of Judge
   Dste                                                            Sigiiamiie of attorney oft^ord
  6/14/18
